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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


 SECULAR STUDENT ALLIANCE, et al.,

                    Plaintiffs,

 v.
                                                                  CASE NO.: 1:21-cv-00169-ABJ
 U.S. DEPARTMENT OF EDUCATION, et al.,

                    Defendants.


      DEFENDANTS’ MOTION TO STAY BRIEFING ON PLAINTIFFS’ MOTION FOR
                      PARTIAL SUMMARY JUDGMENT

         For the reasons set forth in the attached Memorandum of Points and Authorities,

Defendants hereby move to stay Defendants’ deadline to respond to Plaintiffs’ early summary

judgment motion pending resolution of any motion to dismiss or, in the alternative, until 21 days

after the filing of Defendants’ responsive pleading, which is due on April 23, 2021. 1 In addition

to their Memorandum of Points and Authorities, Defendants have filed a proposed order with this

motion.



Dated: March 3, 2021                                   Respectfully submitted,

                                                       BRIAN M. BOYTON
                                                       Acting Assistant Attorney General

                                                       CARLOTTA WELLS
                                                       Assistant Branch Director



1
  On March 3rd, 2021, counsel for Defendants conferred with Plaintiffs’ counsel via e-mail regarding the relief
requested in this motion. Counsel for Plaintiffs informed Defendants’ counsel that Plaintiffs oppose Defendants’
request to stay their opposition to Plaintiffs’ motion for summary judgment pending the resolution of any motion to
dismiss, but do not oppose the alternative relief Defendants seek, to stay the deadline until 21 days after the filing of
Defendants’ responsive pleading.
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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


 SECULAR STUDENT ALLIANCE, et al.,

                   Plaintiffs,

 v.
                                                                  CASE NO.: 1:21-cv-00169-ABJ
 U.S. DEPARTMENT OF EDUCATION, et al.,

                   Defendants.


MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEFENDANTS’
   MOTION TO STAY BRIEFING ON PLAINTIFFS’ MOTION FOR PARTIAL
                      SUMMARY JUDGMENT

         Defendants—the U.S. Department of Education (“ED”) and ED Secretary Miguel

Cardona, in his official capacity—hereby move for a stay of the deadline to respond to Plaintiffs’

early summary judgment motion (filed only one day after proper service of the Complaint) pending

resolution of any motion to dismiss or, in the alternative, until 21 days after the filing of

Defendants’ responsive pleading, which is due on April 23, 2021. 2 A stay of the summary

judgment briefing will ensure that Defendants have sufficient time to respond to the Complaint,

including to resolve any potential threshold defenses under Rule 12, in a case in which no motion

for a preliminary injunction has been filed claiming any irreparable injury, before responding to

Plaintiffs’ motion. Under LCvR 7(b), Defendants’ summary judgment response is currently due

March 9, 2021.

                                                BACKGROUND


2
  Although 2009 Advisory Committee notes to Rule 56 suggest that, “if a motion for summary judgment is filed before
a responsive pleading is due from a party affected by the motion, the time for responding to the motion is 21 days after
the responsive pleading is due,” LCvR 7(b) dictates that oppositions be filed within 14 days from the date of service
of a motion. Thus, out of an abundance of caution, Defendants ask, in the alternative, that the Court to adopt the
schedule set forth in the 2009 committee notes.

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       This case concerns a Final Rule promulgated by ED to “promote the First Amendment’s

guarantees of free expression and academic freedom,” “align with Federal statutes to protect free

expression in schools,” and “protect free speech on campuses nationwide.”                Direct Grant

Programs, State-Administered Formula Grant Programs, Non Discrimination on the Basis of Sex

in Education Programs or Activities Receiving Federal Financial Assistance, Developing

Hispanic-Serving Institutions Program, Strengthening Institutions Program, Strengthening

Historically Black Colleges and Universities Program, and Strengthening Historically Black

Graduate Institutions Program (“the Rule”), 85 Fed. Reg. 59,916 (Sept. 23, 2021). Among other

things, the Rule requires that, as a condition of funding, each public institution:

       “[S]hall not deny to any student organization whose stated mission is religious in
       nature and that is at the public institution any right, benefit or privilege that is
       otherwise afforded to other student organizations at the public institution . . .
       because of the religious student organization’s beliefs, practices, policies, speech,
       membership standards, or leadership standards, which are informed by sincerely
       held religious beliefs.”

Id. at 59980. This requirement is intended to prevent the exclusion of religious student groups

“from receiving neutral and generally available government benefits,” and forcing them “to choose

between their religion” and receiving these benefits. Id. at 59917.

       Plaintiffs filed their Complaint on January 19, 2021, challenging the Rule on a number of

constitutional and statutory grounds. ECF No. 1. First, they claim that Defendants issued the Rule

ultra vires and in violation of the Administrative Procedure Act (“APA”) because it was issued in

excess of statutory authority and jurisdiction. Id. ¶¶ 67-80. Plaintiffs also claim that the Rule

violates the First Amendment, id. ¶¶ 81-99, and is arbitrary and capricious, id. ¶¶ 100-105.

Plaintiffs ask the Court for declaratory relief, to vacate and set aside the Rule, and to issue an

injunction barring its enforcement, as well as fees and costs. Id., Prayer for Relief.




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        Plaintiffs did not effect service of their Complaint on the U.S. Attorney until February 22,

2021, a month after the complaint was filed, yet filed a partial motion for summary judgment the

next day, on February 23, 2021. ECF No. 12. Sidestepping any jurisdictional or threshold issue

that Defendants may seek to raise, Plaintiffs ask the Court for dispositive relief on their claims

related to Defendants’ statutory authority. As justification for seeking an end run around the

normal course of litigation, Plaintiffs offer only that these claims “questions of law” that “can be

decided without production of or reference to the administrative record.” Id. at 11.

                                           ARGUMENT

       The Court should stay the deadline to respond to Plaintiffs’ early partial summary judgment

motion until Defendants have had an opportunity to properly respond to the Complaint, including

the resolution of any threshold defenses that Defendants may raise pursuant to Rule 12.         This

Court has the inherent authority to “control the disposition of the causes on its docket with

economy of time and effort for itself, for counsel, and for litigants.” Landis v. N. Am. Co., 299

U.S. 248, 254 (1936); see also United States v. W. Elec. Co., 46 F.3d 1198, 1207 n.7 (D.C. Cir.

1995). In this case, the interests of fairness and efficiency counsel in favor of allowing Defendants

the opportunity to respond to Plaintiffs’ Complaint under Rule 12, rather than rushing to respond

to a premature and partial motion for summary judgment, where Plaintiffs have provided no

justification for departing from the ordinary course of litigation.

       Nothing in Rule 56 requires the parties and the Court to press forward with a summary

judgment motion prior to Defendants’ opportunity to respond to the Complaint. To the contrary,

while it is true that Federal Rules of Civil Procedure permit the filing of early summary judgment

motions, the Advisory Committee notes for Rule 56 encourage courts to issue orders that will

prevent the premature briefing of summary judgment motions filed at the commencement of a



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case: “Although the rule allows a motion for summary judgment to be filed at the commencement

of an action, in many cases the motion will be premature until the nonmovant has had time to file

a responsive pleading or other pretrial proceedings have been had. Scheduling orders or other

pretrial orders can regulate timing to fit the needs of the case.” Fed. R. Civ. P. 56 advisory

committee’s note (2010 amendments). Earlier committee notes also stated that, “if a motion for

summary judgment is filed before a responsive pleading is due from a party affected by the motion,

the time for responding to the motion is 21 days after the responsive pleading is due.” Id. (2009

amendments).

       Indeed, Rule 12(b) “promotes the early and simultaneous presentation and determination

of preliminary defenses.” 5B Charles Alan Wright & Arthur R. Miller, Fed. Prac. & Proc. § 1349

(3d ed. 2004). Adjudicating motions under Rule 12(b) thus helps to streamline the case by ensuring

that “all available Rule 12 defenses are advanced before the consideration of the merits,” George

Wash. Univ. v. DIAD, Inc., No. CIV. A. 96-301-LFO, 1996 WL 470363, at *1 (D.D.C. Aug. 9,

1996), and to “produce an overall savings in time and resources as well as avoid delay in the

disposition of cases, thereby benefiting both the parties and the courts.” Wright & Miller, § 1349;

see also Furniture Brands Int’l, Inc. v. U.S. Int’l Trade Comm’n, 2011 WL 10959877, at *1

(D.D.C. Apr. 8, 2011), at *1 (Bates, J.) (“[S]uspending briefing of the summary judgment motion

[pending resolution of defendants’ 12(b)(1) motion to dismiss] will allow the Court to manage the

orderly disposition of this case.”). Plaintiffs should not be permitted to preempt Defendants’ rights

under Rule 12 regarding the sequence and timing of their presenting of threshold defenses by filing

a premature summary judgment motion.

       For these reasons, district courts routinely defer consideration of motions for summary

judgment while dispositive motions to dismiss remain pending. See, e.g., Furniture Brands Int’l,



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Inc., 2011 WL 10959877, at *1 (“[S]taying further briefing of the plaintiff’s summary judgment

motion will allow the parties to avoid the unnecessary expense, the undue burden, and the

expenditure of time to brief a motion that the Court may not decide.”); Freedom Watch, Inc. v.

Dep’t of State, 925 F. Supp. 2d 55, 59 (D.D.C. 2013) (“Not needing more lawyers to spend more

time on more briefs on more subjects in order to decide the motion to dismiss, the Court granted

the motion to stay [summary judgment briefing.]”); Baginski v. Lynch, 229 F. Supp. 3d 48, 57

(D.D.C. 2017) (noting that it had “deferred” consideration of plaintiff’s motion for summary

judgment “until it was able to assess the government’s motion to dismiss”); Montgomery v. IRS,

No. 17-cv-918 (D.D.C. Nov. 6, 2017), Min. Order (staying summary judgment briefing until after

resolution of threshold issues); Cierco v. Lew, 190 F. Supp. 3d 16, 21 (D.D.C. 2016), aff’d on other

grounds sub nom. Cierco v. Mnuchin, 857 F.3d 407(D.C. Cir. 2017) (same); Daniels v. United

States, 947 F. Supp. 2d 11, 15 (D.D.C. 2013) (noting that court stayed summary judgment briefing

pending its ruling on motion to dismiss); Angulo v. Gray, 907 F. Supp. 2d 107, 109 (D.D.C. 2012)

(same); Magritz v. Ozaukee Cty., 894 F. Supp. 2d 34, 37 (D.D.C. 2012) (same); Ticor Title Ins.

Co. v. FTC, 625 F. Supp. 747, 749 n.2 (D.D.C. 1986), aff’d, 814 F.2d 731 (D.C. Cir. 1987) (holding

in abeyance plaintiff’s motion for summary judgment “pending resolution of threshold questions

of jurisdiction and justiciability”).

           In this case, Ratio Christi’s pending motion to intervene, ECF No. 6, also counsels in favor

of delaying a resolution of Plaintiffs’ motion for summary judgment. 3 Depending on the outcome

of the proposed-intervenor’s motion, the landscape regarding an efficient schedule for resolution

of this case may change. Accordingly, Defendants request that the Court order that summary




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    Defendants are also filing a motion to extend their deadline to respond to the pending motion to intervene today.

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judgment briefing be stayed until the resolution of any motion to dismiss or, in the alternative,

until 21 days after the filing of a responsive pleading.

                                          CONCLUSION

       For the reasons stated above, the Court should: (1) stay Defendants’ the deadline to respond

to Plaintiffs’ early summary judgment motion pending resolution of any motion to dismiss or, (2)

in the alternative, until 21 days after the filing of Defendants’ responsive pleading, which is due

on April 23, 2021.



Dated: March 3, 2021                           Respectfully submitted,

                                               BRIAN M. BOYTON
                                               Acting Assistant Attorney General

                                               CARLOTTA P. WELLS
                                               Assistant Branch Director

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